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 1   LYNNE C. HERMLE (STATE BAR NO. 99779)
     lchermle@orrick.com
 2   JESSICA R. PERRY (STATE BAR NO. 209321)
     jperry@orrick.com
 3   MEGAN M. LAWSON (STATE BAR NO. 294397)
     megan.lawson@orrick.com
 4   ORRICK, HERRINGTON & SUTCLIFFE LLP
     1000 Marsh Road
 5   Menlo Park, CA 94025-1015
     Telephone:    650 614 7400
 6   Facsimile:    650 614 7401
 7   Attorneys for Defendant
     CLARK CONSTRUCTION GROUP-CALIFORNIA, INC.
 8

 9                                UNITED STATES DISTRICT COURT
10                           NORTHERN DISTRICT OF CALIFORNIA
11

12   LAWRENCE HALEY, as an individual,            Case No. 4:18-cv-07542-HSG

13                   Plaintiff,                   DEFENDANT CLARK
                                                  CONSTRUCTION GROUP-
14         v.                                     CALIFORNIA, INC.’S NOTICE OF
                                                  MOTION AND MOTION TO COMPEL
15   CLARK CONSTRUCTION GROUP-                    INDEPENDENT MENTAL
     CALIFORNIA, INC., a corporation; DOES 1-     EXAMINATION OF PLAINTIFF
16   100,
                                                  Date: December 5, 2019
17                   Defendants.                  Time: 2:00 p.m.
                                                  Dept: Courtroom 2, 4th Fl.
18                                                Judge: Hon. Haywood S. Gilliam, Jr.

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                                                                  DEFENDANT’S MOTION TO COMPEL
                                                             INDEPENDENT MENTAL EXAMINATION OF
                                                            PLAINTIFF [CASE NO. 4:18-CV-07542-HSG]
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 1                               NOTICE OF MOTION AND MOTION

 2           TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE

 3   NORTHERN DISTRICT OF CALIFORNIA AND TO PLAINTIFF LAWRENCE HALEY AND

 4   HIS COUNSEL OF RECORD:

 5           PLEASE TAKE NOTICE that on December 5, 2019, at 2:00 p.m. or as soon thereafter as

 6   the matter may be heard in the above-entitled Court, Defendant Clark Construction Group-

 7   California, Inc. (“Clark”) will and hereby does move for an order granting its Motion to Compel

 8   an Independent Mental Examination of Plaintiff Lawrence Haley pursuant to Federal Rule of

 9   Civil Procedure 35 on the grounds that Plaintiff has placed his mental condition in controversy
10   and good cause exists for the examination. This request is based on this Notice of Motion and

11   Motion, Memorandum of Points and Authorities, the Declarations of Lynne C. Hermle and Mark

12   A. Kalish, M.D., all filed herewith, the pleadings and other papers in the record.

13                                      STATEMENT OF RELIEF

14           Clark requests, pursuant to Federal Rule of Civil Procedure 35, that the Court compel

15   Plaintiff to sit for an independent mental examination conducted by Mark A. Kalish, M.D.

16   consistent with the terms set forth below.

17   I.      INTRODUCTION

18           Federal Rule of Civil Procedure 35 provides for an independent mental examination

19   (“IME”) where the mental or physical condition of the plaintiff is in controversy and good cause
20   exists. The purpose of the Rule 35 examination is to level the playing field so that the defendant

21   can independently and adequately address claims of significant emotional or physical injury.

22           Here, Plaintiff Lawrence Haley’s Complaint alleges substantial and severe distress

23   (“severe emotional distress, which has caused Plaintiff to sustain severe injuries to his person”),

24   including through his claim for Intentional Infliction of Emotional Distress. Plaintiff alleges his

25   distress was caused by Clark, when he performed work at Clark’s construction site in October

26   2017. His psychological treaters have diagnosed him with significant injuries, including Post

27   Traumatic Stress Disorder and other ailments which continue through the present. Plaintiff’s

28   mental condition is clearly in controversy.
                                                                            DEFENDANT’S MOTION TO COMPEL
                                                     -1-               INDEPENDENT MENTAL EXAMINATION OF
                                                                      PLAINTIFF [CASE NO. 4:18-CV-07542-HSG]
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 1            Without an IME, Clark will be unable to independently assess the cause, nature, and

 2   extent of Plaintiff’s alleged distress and defend itself against his claimed damages. Thus, good

 3   cause exists for an IME. Plaintiff’s attempts to place limitations on the exam will necessarily lead

 4   to an incomplete or erroneous assessment. Accordingly, Clark respectfully requests that this

 5   Court grant its motion to compel an IME consistent with the terms set forth below.

 6   II.      FACTUAL AND PROCEDURAL BACKGROUND
 7            Plaintiff alleges eight claims against Clark, the general contractor on a construction site

 8   where he briefly worked. See Declaration of Lynne C. Hermle in Support of Defendant’s Motion

 9   to Compel Independent Mental Examination (“Hermle Dec.”) ¶2 Ex. A (“Complaint”). Plaintiff
10   alleges claims for discrimination under California’s Unruh Civil Rights Act, retaliation in

11   violation of Title VI of the Civil Rights Act of 1964, discrimination, harassment and retaliation in

12   violation of California’s Fair Employment and Housing Act, negligence, intentional infliction of

13   emotional distress, and wrongful constructive termination in violation of public policy. Id. As

14   noted above, Plaintiff alleges that he “suffered severe emotional distress, which has caused

15   Plaintiff to sustain severe injuries to his person.” Ex. A ¶59.

16            After the incidents at issue here (and after he hired counsel), Plaintiff visited multiple

17   psychological treaters, including Dr. Tracy C. Smith at Kaiser. See Hermle Dec. ¶6, Ex. D.

18   According to the Kaiser medical records, Plaintiff discussed the events at issue here and reported

19   a variety of symptoms, including sleeping difficulties, eating problems, anxiety, an inability to
20   stop or control worry, focus and concentration issues, agitation, and a need for anger

21   management. Id. ¶7 Ex. F at p.14. Dr. Smith treated him for well over a year, beginning one

22   month after the incidents Plaintiff alleges caused him severe emotional distress (from November

23   2017 through February of 2019). See id. Dr. Smith diagnosed Plaintiff with Post Traumatic

24   Stress Disorder and Adjustment Disorder with Anxiety. Id. at p.7. She also prescribed, in

25   addition to individual therapy, attendance at a group therapy session called Seeking Safety. Id. at

26   p.10.

27            In addition to his treatment with Dr. Smith, Plaintiff sought treatment with Disability

28   Counseling Services (“DCS”) in Oakland. See Hermle Dec. ¶10 Ex. I. There, he saw multiple
                                                                              DEFENDANT’S MOTION TO COMPEL
                                                       -2-               INDEPENDENT MENTAL EXAMINATION OF
                                                                        PLAINTIFF [CASE NO. 4:18-CV-07542-HSG]
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 1   treaters over the course of years and discussed the events at issue here, as well as many of the

 2   symptoms discussed above. See id. The DCS treaters diagnosed Plaintiff with “Major depression

 3   and anxiety.” See id.

 4           On July 16, 2019, the parties engaged in a meet and confer regarding various discovery

 5   conflicts, including this motion. Hermle Dec. ¶4. In that meeting, Plaintiff’s counsel Lateef Gray

 6   and Ann Kariuki stated that Plaintiff would stipulate to the IME and we agreed that my office

 7   would propose dates to conduct the examination. Id. However, the next day, Ms. Kariuki stated

 8   that she was unable to get confirmation of the dates and that she “may also have comments on the

 9   proposed scope of the IME. Hermle Dec. ¶5, Ex. C. Id. Despite following up with Ms. Kariuki,
10   as of the time of this filing, Clark has received no response from Plaintiff’s Counsel regarding the

11   IME. Hermle Dec. ¶5. Accordingly, Clark makes this motion.

12   III.   ARGUMENT
13          A.      The Requirements of Rule 35 are Easily Met Here
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            Federal Rule of Civil Procedure 35 provides that, for good cause shown, the court “may
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     order a party whose mental or physical condition...is in controversy to submit to a physical or
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     mental examination”. Fed. R. Civ. P. 35. Thus, an examination should be ordered so long as the
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     moving party shows that: 1) the mental or physical condition of the plaintiff is “in controversy”
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     and 2) “good cause” exists for the examination. Id. The moving party must also “specify the
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     time place, manner, conditions, and scope of the examination, as well as the person or persons
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     who will perform it.” Id.
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            The purpose of the Rule 35 examination is “to level the playing field in cases where
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     physical or mental condition is at issue because a plaintiff has ample opportunity for psychiatric
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     or mental examination by his/her own practitioner or forensic expert.” Ashley v. City & Cty. of
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     San Francisco, No. CV-12-00045-JST KAW, 2013 WL 2386655, at *3 (N.D. Cal. 2013); see
25
     also Ragge v. MCA/Universal Studios, 165 F.R.D. 605, 608 (C.D. Cal. 1995). “‘Granting a
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     request for a psychiatric examination pursuant to Rule 35 is to preserve … the equal footing of
27
     the parties to evaluate the plaintiff’s mental state.’” Id. at 608 (citation omitted). “‘Only if no
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                                                                             DEFENDANT’S MOTION TO COMPEL
                                                      -3-               INDEPENDENT MENTAL EXAMINATION OF
                                                                       PLAINTIFF [CASE NO. 4:18-CV-07542-HSG]
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 1   additional relevant information could be gained by an examination of [plaintiff] should the

 2   motion for a psychiatric examination be denied.’” Id. (citation omitted).

 3          In determining if a moving party has met its showing, district courts regularly apply the

 4   test articulated by the Southern District of California in Turner v. Imperial Stores, 161 F.R.D. 89

 5   (S.D. Cal. 1995). See Ortiz v. Potter, No. 2:08-CV-01326 LKKKJN, 2010 WL 796960, at *2

 6   (E.D. Cal. Mar. 5, 2010) (compiling cases); see also Mandujano v. Geithner, No. C 10-01226 LB,

 7   2011 WL 825728, at *2 (N.D. Cal. Mar. 7, 2011) (following Turner); Kob v. Cty. of Marin, No. C

 8   07-2211 JL, 2009 WL 3706820, at *1 (N.D. Cal. Nov. 3, 2009) (same). Under the Turner test, an

 9   IME is appropriate when a case involves “one or more of the following: (a) a claim for intentional
10   or negligent infliction of emotional distress; (b) an allegation of a specific mental or psychiatric

11   injury or disorder; (c) a claim of unusually severe emotional distress; (d) a plaintiff’s offer of

12   expert testimony to support a claim of emotional distress; and/or (e) plaintiff’s concession that his

13   or her mental condition is in controversy within the meaning of Rule 35.” Mandujano, 2011 WL

14   825728 at *2 (emphasis added); see also Preston v. City of Oakland, No. 14-CV-02022 NC, 2015

15   WL 12976100, at *1 (N.D. Cal. 2015) (citing the Turner test).

16          Here, not just one but three of the criteria are present. Plaintiff asserts a claim for

17   intentional infliction of emotional distress, will apparently allege that he suffered PTSD and other

18   psychiatric ailments as a result of Clark’s conduct, and claims that his distress is “severe” and the

19   cause of his injuries. See Hermle Dec. ¶2, Ex. A, at ¶59. Plaintiff also appears likely to present
20   multiple medical treaters as experts in the expert phase of this case. Thus, Plaintiff has squarely

21   placed his mental condition in controversy here and good cause exists for an IME.

22          B.      Clark Has Provided the Requisite Specifics
23          Clark has provided Plaintiff with the necessary details to “specify the time place, manner,

24   conditions, and scope of the examination, as well as the person or persons who will perform it.”

25   Fed. R. Civ. P. 35. Clark has retained an eminent and experienced psychiatrist, Dr. Mark Kalish,

26   who has performed psychiatric evaluations for more than 35 years, to perform the exam.

27   Declaration of Mark Kalish in Support of Defendant’s Motion to Compel Independent Mental

28   Examination (“Kalish Dec.”) ¶¶4,5. As noted in his supporting declaration, Dr. Kalish is board
                                                                             DEFENDANT’S MOTION TO COMPEL
                                                      -4-               INDEPENDENT MENTAL EXAMINATION OF
                                                                       PLAINTIFF [CASE NO. 4:18-CV-07542-HSG]
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 1   certified by the American Board of Psychiatry and Neurology in Psychiatry, by the American

 2   Board of Forensic Psychiatry in Forensic Psychiatry, was a Distinguished Fellow with the

 3   American Psychiatric Association, served as Examiner for the American Board of Psychiatry &

 4   Neurology and for the American Board of Forensic Psychiatry, was a Clinical Instructor at the

 5   University of California, San Diego. Kalish Dec. ¶3. Dr. Kalish has treated the full spectrum of

 6   patients with psychiatric disorders, including anxiety, depression, manic depressive or bipolar

 7   illness, schizophrenia, and post-traumatic stress disorder. Id. ¶4. He has been retained as an

 8   expert in dozens of civil cases, testifying both for the plaintiff and for the defendant, and has

 9   testified as an expert witness at trial dozens of times.
10          The examination will include a psychiatric interview as well as psychological testing,

11   which may include the Minnesota Multiphasic Personality Inventory 2 (the “MMPI-2”), a widely

12   used psychological test used to reach a consistent, comprehensive picture of emotional and

13   personality functioning. Id. ¶8. The total length of the interview and psychological testing will

14   be up to five hours, excluding breaks, and assuming a good faith effort by Plaintiff. Id. ¶11. The

15   interview will involve questions of standard practice for an analysis and diagnosis: an inquiry into

16   Plaintiff’s current mental status; cognitive and emotional functioning; the experiences that

17   contributed to his distress; medical or psychological treatment for symptoms from the alleged

18   distress; experiences between the end of his work at Clark’s construction site to the time of the

19   evaluation to assess the contributory stress factors; his past personal and developmental
20   experiences; educational, dating, marital and occupational history; litigation and financial history;

21   and past medical and psychiatric history. Per his usual practice, Dr. Kalish will audio record and

22   may transcribe the examination. Id. ¶13. These details of the examination were provided to

23   counsel for Plaintiff, who chose not to stipulate to the examination.

24   IV.    CONCLUSION

25          Plaintiff’s mental condition is in controversy here and good cause exists to order an IME.

26   Clark respectfully requests that the Court grant its motion to compel an IME consistent with the

27   scope and terms outlined in Dr. Kalish’s declaration.

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                                                                             DEFENDANT’S MOTION TO COMPEL
                                                      -5-               INDEPENDENT MENTAL EXAMINATION OF
                                                                       PLAINTIFF [CASE NO. 4:18-CV-07542-HSG]
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 1   Dated: July 18, 2019                  LYNNE C. HERMLE
                                           JESSICA R. PERRY
 2                                         MEGAN M. LAWSON
                                           Orrick, Herrington & Sutcliffe LLP
 3

 4                                         By:        /s/ Megan M. Lawson
 5                                                   MEGAN M. LAWSON
                                                     Attorneys for Defendant
 6                                               CLARK CONSTRUCTION GROUP-
                                                       CALIFORNIA, INC.
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                                                             DEFENDANT’S MOTION TO COMPEL
                                         -6-            INDEPENDENT MENTAL EXAMINATION OF
                                                       PLAINTIFF [CASE NO. 4:18-CV-07542-HSG]
